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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DlVISION
IN RE ANTHEM, [NC. DATA BREACH Case No.: lS_MD_026I7_LHK
LITIGATION REPORT AND RECOMMENDATIONS OF

SPECIAL MASTER RE: AWARD OF
A'I'I`ORNEYS’ FEES AND
REIMBURSEMENT OF LITIGATION
EXPENSES

 

 

 

 

I. Introduction and methodology
By Order of February 8, 2018 (“Order”), the undersigned was charged with reviewing the
lodestar for fees and expenses for the representation of the Class. In doing so, the Special Master

is authorized to “review the time and expenses spent litigating the case” and to deduct time and

Case No.: 15-MD-026 l 7-LHK
REPOR'I` AND R.ECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF A'I`TORNEYS’ FEES AND

REIMBURSEMEN'I` OF LIT]GA'I`ION EXPENSES

 

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expenses that are “excessive, unnecessary, or duplicative.” Order at 2.l The Special Master is not
reviewing the reasonableness or fairness of the settlement itself, but only class counsel’s fees and
expenses. Even so limited, the scope of this review is extensive This is partly due to the size of
the case and the number of counsel. Class counsel have supplied hundreds of pages of billing
data containing thousands of entries. The Special Master has also reviewed objections to
counsel’s application.
A. Percentage vs. Lodestar

There has been a long-standing debate as to the proper methodology for calculating fees
in class actions. The easiest approach is to simply apply a percentage to the settlement. The
Ninth Circuit has established a “benchmark” of 25% applied against the settlement as the fee
award, but even this seemingly simple method may be adjusted up or down depending upon
“special circumstances.” See, In re Bluetooth Heaa'set Products Liability Lz'tz'gation, 654 F.3d
935, 942 (9th Cir. 2011), Six Mexican Workers v. Arizona Citrus Growers, 904 F.Zd 1301, 131 l
(9th Cir. 1990), Vizcaino v. Microsofl Corp., 290 F.3d 1043,1050 (9th Cir. 2002). AS a check on
the ngre arrived at through the percentage method, courts have used the lodestar altemative, as
described below, to review and possibly revise the fees to be awarded. 2

This case settled in June 2017. Anthem agreed to an all-inclusive fund of $1 15 million,

out of which class counsel moved pursuant to Rule 23(h) for fees and expenses totaling $39.95

 

1 The Special Master spent 38 years in private practice before appointment to the bench, during
which time he was responsible for keeping time records and submitting bills to clients using
hourly rates. And, as a Superior Court Judge he reviewed fee applications on a regular basis.

2 NYU School of Law has published a 2016 research paper entitled Attorneys Fees z`n Class
Actz'ons: 2009-2013 which analyzes the statistical breakdown between the percentage and

lodestar methods.
Case No.: lS-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MAS'I'ER RE: AWARD OF A"[TORNEYS’ FEES AND

REIMBURSEMEN'I` OF LlTIGA'I`ION EXPENSES

 

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million as counsel’s “lodestar.” That amount is 34.7% of the gross and 43.4% of the net
settlement3 This claimed amount is derived from the time records of 53 law firms comprising
over 300 timekeepers.

The lodestar figure is calculated by multiplying the number of hours the prevailing party
reasonably expended on the litigation (as supported by adequate documentation) by a
reasonable hourly rate for the region and for the experience of the lawyer. Staton v. Boeing, 327
F.3d 938, 965 (9th Cir. 2003). Though the lodestar figure is “presumptively
reasonable,” Cunningham v. Cnly. of Los Angeles, 879 F.2d 481, 488 (9th Cir.l988), the Court
may adjust it upward or downward by an appropriate positive or negative multiplier reflecting a
host of “reasonableness” factors, “including the quality of representation, the benefit obtained
for the class, the complexity and novelty of the issues presented, and the risk of
nonpayment,” Hanlon, 150 F.3d at_1029 (citing Kerr v. Screen Extras Guild, 1nc.,_526 F.2d 67,
70 (9th Cir.1975)). Foremost among these considerations, however, is the benefit obtained for
the class. See Hensley v. Eckerhart, 461 U.S. 424, 434-36, 103 S.Ct. 1933, 76 L.Ed.2d 40
(1983); McCown v. City of Fom‘ana, 565 F.3d 1097, 1102 (9th Cir.2009)(ultimate

reasonableness of the fee “is determined primarily by reference to the level of success achieved

 

3 The Special Master has not adopted the “benchmark” of 25 % of the settlement fund as the
primary method for the reasons explored in In re Bluetooth Headset Producrs Lz'abilz'ly
Litigatz°on, 654 F.3d 935, 944-946 (9th Cir.2011). Some decisions advocate the percentage
method, because it has been argued that the lodestar approach, among other negatives, may
tempt lawyers to run up their hours. At the same time, the lodestar analysis has been used as a
“cross chec ” when the percentage technique is employed See, Goldberger v. Integrated
Resources, Inc. 209 F.3d 43, 50 (2d Cir. 2000). There is no authority prohibiting the reverse
approach, i.e., doing a lodestar analysis with a percentage calculation as a cross check. As noted

below, the Special Master has done that here.
Case No.: 15-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

 

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by the plaintiff”). Thus, where the plaintiff has achieved “only limited success,”

counting all hours expended on the litigation_even those reasonably spent_may produce an
“excessive amount,” and the Supreme Court has instructed district courts to instead “award only
that amount of fees that is reasonable in relation to the results obtained.” Hensley, 461 U.S. at
436, 440, 103 S.Ct. 1933.

The results obtained in this case were undoubtedly si gniiicant. They include changes in
Anthem’s business practices to add millions of dollars of additional funds to deploy security
measures to protect class members’ personally identifying information into the future. To
achieve this result class counsel were engaged in a very substantial litigation effort along
traditional lines: discovery through document review and depositions plus significant motion
practice This is a truly megafund case by any measure. The Special Master is guided by the
principle as stated in treatise F ederal Practice and Procedure - Civil (commonly known as
Wright & Miller):

“Onc of the most significant considerations taken into account in setting the ultimate fee
is the benefit conferred by the litigation. Benefit in this context is not necessarily limited to
monetary relief or the value of the property right protected A number of courts have indicated
the importance of encouraging private litigants to vindicate public wrongs by suggesting that
the fees awarded should be particularly generous in those situations This consideration seems
warranted Since the objective of the award is to create a financial incentive to initiate socially
desirable litigation and thereby enhance access to the adjudicative process, taking into account
the amount of benefit actually produced and allowing fees to be enhanced accordingly seems

particularly appropriate.” 7B Fed. Prac. & Proe. Civ. §1803.1 (3d.ed.)

Case No.: 15-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

 

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The lodestar method of calculating attorney fees is a two-step process. First, courts
multiply the hours an attorney Works by the attomey’s hourly rate-this process yields the
lodestar-and then comes the difficult pait: courts adjust the lodestar up or down “to reflect the
characteristics of a given action.” The lodestar method raises three questions: (1) how do courts
determine a reasonable hourly rate? (2) how do courts determine a reasonable number of hours?
and (3) once courts come up with the lodestar, on what basis do courts adjust that figure up or
down?

And, as noted in the Wright & Miller treatise:

“The court must exercise caution in awarding fees lest they deplete the recovery for the
class.” 7B Fed. Prac. & Proc. Civ. §1803.1 (3d.ed.)

And the lodestar approach has been criticized:

“The lodestar approach is unworkable because, among other things, it abandons the
adversary process upon which our judicial system is based; requires judges to assess, after the
litigation is over, strategic and other decisions made by plaintiffs' lawyers in the midst of
litigation (with the resulting “inequities of retrospective rate setting,” Kz'rchoj”v. Flynn, 786 F.2d
320, 325 (7th Cir.l986)); In re Oracle Securities Litigation, 131 F.R.D. 688, 689 (N.D. Ca.
1990)

With all of these competing considerations in mind, the Special Master has
reviewed counsel’s billing records, rates, hours, tasks, number of personnel employed, and the
claimed expenses for each billing firm. The Court has reviewed the settlement terms between
the class and defendant, including whether counsel’s representation is correct that there is no

collusion or conflicts of interest (e.g., fee splitting among counsel), and whether there is a “clear

Case No.: 15-MD-026 l 7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF A'ITORNEYS’ FEES AND

REIMBURSEMENT ()F LITIGATION EXPENSES

 

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sailing” arrangement providing for the payment of attomeys’ fees'separate and apart from class
funds. The Special Master has not been charged with assessment of the reasonableness or
fairness of the settlement, e.g., Churchill Vill., LLC v. General Electric, 361 F.3d 566 (9th Cir,
2004).

The Special Master takes the position that, to the extent the lodestar is adjusted
downwards from what class counsel is seeking, the difference will revert to the class members
Further, the Special Master recommends that the costs of litigation and the fees of the Special
Master be deducted from counsels’ share rather than that of the class.

B. Summary of billing issues

The Special Master has focused his analysis on the following specific billing issues:

(1) Rates charged for attorney and non-attorney personnel of different
denominations (e.g., Partner, Fellow, Associate, Contract Attomey, Law Clerk,
Of Counsel); and
(2) How much time was spent on the litigation activities and whether there was
attendance by the appropriate person or multiple counsel at the same event,
e.g., depositions and hearings
C. Calculations in this case
Compilations of counsel’s lodestar information are found in the following court
filings:
0 Detailed Lodestar Information by Firm and Biller Dkt. 916-10

¢ “Detailed Contract/Staff Attomey Infonnation”

Case No.: 15-MD-02617-LHK
REPOR'I` AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

RELMBURSEMENT OF LITIGATION EXPENSES

 

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0 Summary of Total Lodestar by Firrns Dkt. 944-5

0 Task Code Key and Related breakdown per firm Dkt. 916-12

¢ Declaration of Co-lead Counsel Eve H. Cervantez, Esq. at pp. 17-18 and
exhibits D 960-6 thereto

0 Time Stricken (by Plaintiffs’ Counsel) in Exercise of Billing Judgment
Dkt. 960-4

0 Detailed Lodestar lnformation by Firrn and Biller (updated to include
historic rates) Dkt. 960-5

0 Task Code Billing by Timekeeper Dkt. 960-6.

The Special Master has not reviewed every line item. It appears Lcad Counsel did
so. See, Declaration of Eve Cervantez, Esq., December l, 2017, at 22-23 and Ms. Cervantez’
Supplemental Declaration of January 31, 2018, which post-dates and responds to the Court’s
Orders of January 29 and 30, 2018. The Special Master has undertaken spot-checking of the
records produced to gain a sense of their value to this process.

II. Rates

A. Overall rates analysis

The rates indicated in each firm’s application constitute one-half of the lodestar
calculation, the other being hours.4 Law firm rates generally used to be confidential between
lawyers and clients except for fee applications pursuant to statute or the subject of litigation But

for some years hourly rates have become publicized, sometimes in academic studies, cases and

 

4 The Special Master notes that class counsel have undertaken a review of hours and deleted

what they found to be incorrect or overstated Dkt. 960-4 Filed 1/31/18.

Case No.: 15-MD-026l7~LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATl“ORNEYS’ FEES AND

RElMBURSEMENT OF LITIGATION EXPENSES

 

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in the press.5 Some courts have referred to the Laffey Matrix_which derives its name from the
case Laj"ey v. NorthwestAz`rlines, Inc.(572 F. Supp. 354 (D.D.C. 1983), affirmed in part,
reversed in part on other grounds, 746 F.2d 4 (D.C. Cir. 1984), cert. denied, 472 U.S. 1021
(1985). lt is a free resource published each year by the U.S. Attomey’s office for the District of
Columbia. It offers tiered rates for lawyers, differentiated according to their years of experience
The matrix is available at www.justice.gov/usao/dc/divisions/civil.html. Some areas of the
country, e.g., San Francisco Bay Area, may have higher rates than others. See, e.g., Garnes v.
Barnhara't 2006 WL 249522 at *7 (N.D. Cal.); see also Chanel, Inc. v. Doan, 2007 WL 781976
(N.D. Cal.).); and Syers Propertz`es III, Inc. v. Rankz'n, 226 Cal. App. 4th 691, 702 (2014).

The Ninth Circuit has rejected the Laffey Matrix as having little or no relevance
outside of the District of Columbia. Prz`son Legal News v. Schwarzenegger, 608 F.3d 446, 454
(9th Cir. 2010): “just because the Laffey matrix has been accepted in the District of Columbia
does not mean that it is a sound basis for determining rates elsewhere, let alone in a legal market
3,000 miles away.” Jacobson v. Persolve, LLC, No. 14-CV-00735-LHK, 2016 WL 7230873, at
*6 (N.D. Cal. Dec. 14, 2016) At most it is admittedly a dated reference point, and not at all
binding on the Special Master or the Court

A possibly useful resource is a commercially prepared report of actual rates that
have been paid by real clients. Called the Real Rate Report, it is published by Wolters Kluwer,

an information, soitware, and related corporate legal-services company

 

5 Much of the referenced material is from the Califomia Lawyer magazine, published by the

State Bar of Califomia.
Case No.: 15-MD-02617~LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF A'I`TORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

 

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(www.wkelmsolutions.com). The report was first released in 2012 and has been updated and
improved several times since

The data used for the 2014 Real Rate Report (the most recent available) includes
more than $ 16.2 billion in fees billed and paid through TyMetrix for legal services in the United
States during the seven-year period of 2007 through 2013. It includes fees paid by 90 companies
to more than 5,600 law firms and more than 206,000 timekeepers, and it covers approximately
141 ,000 partners and associates spread across more than 350 U.S. metropolitan areas. The rate
data in the report is presented in a variety of ways: high-level data cuts, industry analysis, and
practice-area analysis, among others. Rates by timekeeper category are supplied for 59 cities.
ln-depth data for ten large cities has been mapped to twelve separate practice areas, such as
Labor and Employment and Corporate, for example Data is also parsed based on the size of the
firm. Like the Laffey Matrix before it, the Real Rate Report has been accepted by many courts.
(See, Hicks v. Toys 'R Us-Delaware, Inc., 2014 WL 4670896 at *l (C.D. Cal.). However, this

report, like Laffey, has only marginal value in determining What appropriate rates should be.

A third source comes from Thomson Reuters, well-known producer of Westlaw,
which several times a year compiles hourly rates from court filings by case and timekeeper. lt
used to be known as Westlaw Court Express but is now called the Legal Billing Report, Each
report has two sections. One is sorted by region/law firm, and the other is by billing rate/region.
This is the most granular of reports, including the names of timekeepers, law firms, and the case

names and numbers of the matters.

Case No.: 15-MD-02617-LHK
REPORT AND R_ECOMMENDATIONS OI-` SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

 

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Summary of Rates per Thomson Reuters"’

Experience (years)
Laffey: D.C. Laffey: S.F. Laffey: L.A. Real Rate Report

Lawyers

20+ $520 $562 $541 $645
l 1-19 $460 $497 $478 3575
8-10 $370 $400 $385 $364
4-7 $300 $324 $312 $204
1-3 $255 $275 $265 $192
Paralegals/law clerks $150 $156 $140 $166

As noted, the rates standing alone do not answer the “reasonable lodestar” question But,
in this case specific examples depict an unfortunate scenario, specifically the rates charged for

the time of “contract” or “staff" attorneys
B. Contract/StaffAttorneys - Rates

A review of the Detailed Contract/Staff Attomey lnforrnation is of particular
importance Thc clearest summary of this data is found in ECF Docket No. 977-4, an
attachment to the Supplernental Declaration of Lead Counsel Cervantez. That summary reveals

most of the personnel are labeled as “Contract Attomey.” These 33 lawyers are shown as paid

 

6 Courts have routinely looked to the rates charged in a particular locale in setting fees See, e.g.,
Yahoo!, Inc. v. Net Games, Inc. 329 F. Supp.2d 1179 (N.D. Ca. 2004).

Case No.: lS-MD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE; AWARD OF AT'I`ORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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by the firms at hourly rates from $25.00 to $65.00, with the clear majority in the $40.00 range
These individuals are not paid out of the class recovery fund, but rather by the firms that have
retained them. Put another way, these billers were pa_id $727,537.86, or an average of
$22,046.60 per person. Class counsel have charged hourly rates for contract attorneys from
3185 to $495. Dkt.977-4 These billers were ch_arge_d out to the class per the claimed lodestar of
$6,997,153.50, or an average of $212,034.95 per person. Dividing that charge by 19,445.40
hours billed yields an hourly rate of $359.83. Dkt. 977-4 In other words, class counsel seek to
have them billed at a rate applied to 4 to 8-year lawyers lt is simply inappropriate for these
rates to be charged, especially when there is recent authority for the hourly rates to range for
such billers from $25 to $59. See, Dial Corp. vs. News Corp, 317 F.R.D. 426, 430, 438

(S.D.N.Y. 2016), Banas v. Volcano Corp., 47 F.Supp.3d 957,980 (N.D. Cal. 2014).

The Court in Dial Corp. supra, noted: “Plaintiffs seek reimbursement of $7,5 12,91 5. 12
in expenses The vast majority of those expenses arises from costs associated with retaining two
expert witnesses and retaining contract attorneys to review millions of documents (Pl. Mot. for
Fees at 20.) The contract attorney fees, amounting to a little more than $1 million were billed
“at an average rate of 339/hour without any mark-up applied.” (Pl. Mot. for Fees at 20.) Simple
math reveals that more than 25,000 hours of attorney time were expended To Counsel's credit,
this attorney time was “accounted as an expense rather than included in the lodestar.” (Pl. Mot.
for Fees at 20.) That fact weighs heavily in favor of granting the expenses While courts in this
Circuit have permitted attorneys to garnish their lodestars with marked-up contract attorney

fees, this Court appreciates Counsel‘s decision to treat these contractor fees as an expense lt

Case No.: 15-MD-026l 7-LHK
REPOR'I` AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

RELMBURSEMENT OF LITIGATION EXPENSES

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saves the Court from having to “detennine a correct spread between the contract attomey’s cost
and his or her hourly rate and his or her salary.” Citz'group Sec. Litig., 965 F.Supp.Zd at 394.
This Court encourages the Plaintiffs' class action bar to consider adopting this practice in future
actions.” 317 F.R.D. at 438.

The Special Master is not recommending the Court go as far as Dial regarding
contract attorneys but suggests, solely as part of this analysis, theoretically revising their rates
billed here to that of a paralegal, namely $156 per hour. This seems appropriate since much of
the contract attorney work falls under Task Code 2, “Review of documents produced by
Defendants.” 7 Class counsel have charged hourly rates for contract attorneys from $185 to
$495. Dkt. 977-4 The Special Master gives class counsel the benefit of the doubt by using the
lowest rate claimed by each firm, rather than the actual rates claimed. Using the lowest hourly

rates claimed, the impact these charges for contract attorneys have on the lodestar computation

are as follows:8

Bonnet: 287.9 Hours X rate of $275/hour = $79,172.50. If billed at $]56/hr. the

charge would be $44, 912

Boucher“. 707.6 Hours X rate of$185/hour =$130,906. .lf billed at $]56/hr. the

charge would be $110, 385. 60

 

7 See Dkt.916-12 for Task Code Key.
8 Dkt. 960-5 “Detailed Lodestar Information by Firm and Biller (updated to include historic

rates).
Case No.: 15~MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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Branstetter: 663.6 Hours X lowest rate of $385/hour=$255,486. If billed at $156/hr.

the charge would be $103,521.60

Cohen Milstein: 5784.2 Hours X lowest rate9 of $245 = $1,417,129. If billed at $l56/hr.

the charge would be $902,335.20

Gibbs: 1656.7 Hours X rate of $350 = $579,845. If billed at $]56/hr. the charge would

be $258,445.20

Lieff: 5448 Hours X lowest rate of $415 = $2,260,920. If billed at $156/hr. the charge

would be $849, 888

Lockridge: 387.2 Hours X rate of $325 = $125,840. If billed at $156/hr. the charge

would be $60, 403

Schubert: 3802.8 Hours X lowest rate of $350 = $1,330,980. If billed at $]56/hr. the

charge would be $593,236.80

Scott: 545.1 Hours X rate of $400 = $218,040. If billed at $156/hr. the charge would be

$85, 035. 60

Zimmerman: 162.3 Hours X rate of $300 = $48,690. If billed at $156/hr. the charge

would be $25,318.80.

The above contract attorney analysis for all firms yields significant data:

 

9 “Lowest rate” shown on chart for contract attorneys
Case No.: lS-MD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS' FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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Class counsel charges $6, 997, 1 53 for contract attorneys However, using the hourly
rate of $] 56, the total equals $3,033,482 or approximately one-half of what was billed As

noted, this analysis uses the rate per Thomson Reuters for San Francisco paralegals

The Special Master also considered what the rates would be if all billers were combined,
regardless of status The average hourly rates (for all billing personnel) for those firms whose

hourly fee claims are in the six- or seven-figure range are as follows:

Name: Average hourly rate:
Altschuer $587
Barrack 482
Berger 624
Bennett 388
Boucher 248
Branstetter 445
Cohen & Malad 462
Cohen Milstein 472
Edwards 525*
Federman 572
Forbes 375
Gibbs 454
Goldman 638
Heins 383
Kaplan 501
Keller 421
Lieff 481
Lockridge 338
Milberg 420
Morgan 510
Murray 353
Pomerantz 476
Robinson 548
Schubert 373
Scott 401
Stueve 425
Stull 689

Case No.: 15-MD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER R.E: AWARD OF ATI`ORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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Webb 533
Whalen 133 *
Zirnmerman 401

 

 

 

*Sole practitioner (for this case)

Applying simple math, the average rate for all billers listed above is $455 per hour.
These combined per firm rates, while not conclusive in themselves, do not appear excessive to

the Special Master.

C. Services billed

This is a massive case in all respects: the amount and scope of the settlement are the
end results of thousands of billable hours by dozens of lawyers, paralegals, contract attorneys,
and clerks A detailed summary is found at pages l, 3-4 of the Cervantez Declaration of
December l, 2017. The billing records supplied to the Court cover many hundreds of pages of
detailed daily time entries Counsel have provided a helpful task code key which, when viewed
in concert With the time records summaries assists in reviewing the type and amount of work
performed Document 916-11.10 As noted, the Special Master has not reviewed every line item
of billing; such a review is not necessary. ln the words of Objector Schulman, Plaintiffs seek a
“rough” cross check, not “auditing perfection.” Dkt. 943 at 4-5.ll This is the standard the
Special Master has applied Regardless, enough of the voluminous records has been studie'd to

lead to verifiable conclusions They are:

 

10 'I'hese and other document citations are based on the designation within the Pacer file for this
litigation
ll“We are not asking the Court to put on green eye-shades and scrutinize time entries line by

line . .” Doc 924 at 18.
Case No.: l5-MD-026 l 7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMEN'I` OF LITIGATION EXPENSES

15

 

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(1) There are charges for 194 depositions, for which 13,800 hours were billed.12
Cervantez Dec. 1[1[34,52. This equates to 71 hours per deposition, or about 10
days preparing for and taking each one, using the 7-hour guideline proscribed by
Rule 30 (d)(l), Federal Rules of Civil Procedure This is excessive on its face.

(2) The issue of discovery charges is exacerbated by using higher priced lawyers to
perform tasks such as document review. This is the consequence of multiple
personnel doing a variety of tasks The problem is highlighted by some
examples:

0 The Barrack firm spent 950 hours reviewing documents without
any contract lawyer time; thus, associates at hourly rates between
$375 and $470, and partner rates up to 8500 resulted in $380,000.
Dkt. 916-ll

¢ Bonnett, 1000 hours, with 700 hours at $425 for an associate, Dkt.
91 6- 10

0 Branstetter, 1600 hours, approximately 800 hours at associate rate
of$410, Dkt. 916-10

o Goldman, 500 hours for associate at rates at $475 and up, Dkt.
916-11

0 Kaplan, 360 hours for associate at $500, Dkt. 916-11

o Keller, 3000 hours for associate at $400, Dkt. 916-10

 

12 The Special Master has used rounded figures for clarity.
Case NO.: lS-MD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTOR.NEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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¢ Morgan, 360 hours for associate at $500, Dkt. 916-10
0 Pomerantz, 1100 hours most of which for associate at $500, Dkt.
916-10
¢ Stull, 800 hours, $500, Dkt. 916-10 and ll
(3) The motion for class certification and reply consumed approximately 3,300
hours (“Task Code 10”). Based on an estimate of 10 hours per day of non-stop
work, this totaled the equivalent of 330 days.
(4) Scttlement preparation (“Task Code ll”) consumed approximately 2,500 hours
Again, this computes to over 8 months of work at 10 hours per day.
(5) The eleven firms whose billings are in seven figures average a rate of S496/hour.
Dkt. 916-10
(6) Post-settlement billings: Although the case settled in June 2017 (Dkt. 869) the

lodestar includes work performed through September 30, 2017. Declaration of

Eve Cervantez 1145.

There are a number of instances where more than one billing individual was
participating, although Ms. Cervantez explains why multiple attorneys were present at

depositions and hearings, for example Cervantez Declaration, December l, 2017 at 1|44.

Overall, and after considering counsel’s argurnents, the number of law firms strikes the
Special Master as excessive This is the most negative aspect of the fee application There are
53 billing frrms. This virtual army of billers was contrary to the letter and spirit of the Court’s

appointment orders regarding lead counsel. Even from counsel’s perspective how could lead
case No.: ro-Mr)-ozor'/-Lr-rk

REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND
RELMBURSEMEN'I` OF LITIGATION EXPENSES

17

 

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counsel possibly conduct effective oversight of this very large team of lawyers? The Special
Master is not accusing Plaintiffs’ counsel of deliberate overbilling. However, every time a new
law firm was added to the group, those lawyers had to spend time leaming the history, issues,
and facts being litigated Thus, the inevitable result of 53 firm billing participants presents at
least a strong probability of duplication and unreasonable hours See, Wright & Miller, 10

Federal Practice & Procedure Civ. §2675.2 (3d.ed.).13

The four firms appointed as lead counsel are alone claiming a lodestar of $24,288,471.
Cervantez Decl. 1150. The other 49 firms are asserting a lodestar of $13,603,878. It is
noteworthy that the Robins Geller firm, highly experienced class counsel, opposed the
expansion fi'om four to eight “lead” firms because such a structure would be unwieldy. '4 And it
is disturbing that the lead firms disregarded the Court’s permission to use a larger number of
counsel but only to perform “discrete tasks” as needed consistent with efficiency Dkt. 286 at l.
Pursuant to the Contract Attomeys analysis, supra, that category of billing alone could bc
reduced by several million dollars, and the Special Master suggests doing that, below. The
Special Master also notes that the Court, in the Order of February 2, 2018, expressed serious

concerns about these very issues

D. Expenses
Counsel Cervantez has submitted a detailed Declaration, with multiple exhibits

substantiating the request for expenses incurred ‘|]61 Cervantez Declaration of December 1,

 

13 To their credit Lcad Counsel unilaterally reduced the total number of hours billed by 4,459.

Dkt. 960-4.

14 It does not appear the Robins Geller firm was part of the class counsel group.

Case No.: 15-MD-02617-LHK

REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF AT'I`ORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

18

 

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2017. This calculation has been updated and increased The Special Master has not conducted a
detailed review of these items, nor of the request for service awards for the named Plaintiffs as
articulated in the Cervantez Declaration of December l, 2017, The expense items do not appear
inappropriate for a case of this size

However, there is an issue whether the $2,005,068.59 in claimed expenses should
impact the fees calculation.15 When the claimed administration and litigation costs are deducted
from the gross $115 million settlement amount, the actual monetary benefit to the class is, at
most, approximately $89,994,931. That is the “net” figure to consider both for lodestar and
percentage calculations

In Redman v. RadioShack, 768 F.3d 622 (7th Cir. 2014) the Seventh Circuit observed:

“But the roughly $2.2 million in administrative costs should not have been included in
calculating the division of the spoils between class counsel and class members Those costs are
part of the settlement but not part of the value received from the settlement by the members of the
class The costs therefore shed no light on the fairness of the division of the settlement pie between
class counsel and class members.” Id. at 630.

The Ninth Circuit has addressed the costs issue in Staton v. Boeing, 327 F.3d 938 (9'11. Cir.
2003) at 974-975:

“The parties to the proposed settlement agreed to the inclusion of costs in the amount

attributed to fees and the objectors understandably, have not protested that inclusion As all of

 

15 There are also awards to class representatives of $5,000 and $7,500 each, and also a reserve of
$132,000, which includes $72,000 for a call-in center and $60,000 for expert monitoring

services
Case No.: lS-MD-026l7-LHK
REPORT AND R.ECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

19

 

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those affected are content with that method of calculation and no class mernber’s interests are
adversely affected, the district court had no cause to disapprove the attribution, nor do we

“The district court also did not abuse its discretion by including the cost of providing notice
to the class of the proposed consent decree as part of its putative fund valuation, although the cost
of providing two notices rather than one should not have been included We have said that ‘the
choice of whether to base an attomeys’ fee award on either net or gross recovery should not make
a difference so long as the end result is reasonable Our case law teaches that the reasonableness
of attomeys’ fees is not measured by the choice of the denominator. ”’ Powers v. Eichen, 229 F.3d
1249, 1258 (9th Cir.2000). The post-settlement cost of providing notice to the class can reasonably
be considered a benefit to the class Also, where, as here, it is the defendant who pays for the
notice, we may assume that the inherent incentives to minimize the cost involved are sufficient
Additionally, the court’S supervision of the form of notice and the method of communication
assures that the costs expended are contained We conclude that where the defendant pays the
justifiable cost of notice to the class-but not, as here, an excessive cost-it is reasonable (although
certainly not required) to include that cost in a putative common fund benefiting the plaintiffs for
all purposes, including the calculation of attomeys’ fees.” See, also, In re Online DVD-Rental
Anmmsz Lizzgazzon, 779 F3d. 934 (9th Cir. 2015);

“The district court did not abuse its discretion in calculating the fee award as a percentage
of the total settlement hind, including notice and administrative costs, and litigation expenses
We have repeatedly held “that the reasonableness of attorneys' fees is not measured by the choice
of the denominator.” Powers v. Eichen, 229 F.3d 1249, 1258 (9th Cir.2000)(rejecting an

objector‘s argument that a fee award in a securities settlement should be based on “net recovery,”

Case No.: lS-MD-026l 7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF AT'I`ORNEYS` FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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which does not include “expert fees, litigation costs, and other expenses”); see also Staton, 327
F.3d at 974-75 (‘”The district court also did not abuse its discretion by including the cost of
providing notice to the class as part of its putative fund valuation.... We have said that ‘the
choice of whether to base an attomeys’ fee award on either net or gross recovery should not make
a difference so long as the end result is reasonable.’ ” (quoting Powers, 229 F.3d at 1258)). Here,
the district court concluded that class counsels’ fee request, which applied the 25% benchmark
percentage to the entire common fund, was reasonable Indeed, the court explicitly explained
how administrative costs in particular make it possible to distribute a settlement award “in a
meaningful and significant way.” Similarly, notice costs allow class members to learn about a
settlement and litigation expenses make the entire action possible Thus, the court acted within
its discretion under this court‘s precedent in Powers and Staton. "

As noted at the outset, the Special Master has not felt bound by a strict application of the

“25% benchrnar ” so the inclusion or exclusion of litigation expenses does not drive these

recommendations

E. Signifrcance of the litigation, amount of work, and percentage of dollars
obtained
In determining whether attorney fees requested as part of a class action settlement are
reasonable it is well established that a district court should consider: (1) the time and labor
expended by counsel; (2) the magnitude and complexities of the litigation; (3) the risk of the

litigation; (4) the quality of representation; (5) the requested fee in relation to the settlement;

Case No.: l$-h/fD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF A'I'I`ORNEYS’ FEES AND

REllvaURSEMEN'I` OF LITIGATlON EXPENSES

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and (6) public policy considerations Davis v. JP. Morgan Chase & Co., 2011 WL 4793835
(W.D. N.Y. 2011).

There is no dispute that counsel’s compensation was entirely contingent and there was a
substantial and necessary time commitment A review of other cases yields a wide range of
lodestar multipliers (positive and negative) with class counsel receiving awards from 6-10% in a
megafirnd case, Domestz'c Air Transporz, 148 F.R,D. 297 ( N.D. Georgia, 1993), Wal-Mart
Stores, Inc. v. Visa U.S.A., Inc., F.3d 96 (2d Cir. 2005) (6.5% from 18% awarded) to In re
Vitamins Antitrust Litigaa'on, 2001 396WL 34312839 (D.C.) (34.06% awarded). This Court has
awarded far lower percentage recoveries in megafund cases:

Gutierrez v. Wells Fargo., N.A., 2015 WL 2438274 (N.D. Cal. 2015), ln re Charles
Schwab Corp. Securz'tz`es Litz'gatz`on, 2011 WL 1481424 (N.D. Cal. 2011). ln those two cases the
percentages were 9% and 9.25%

ln Gutierrez v. Wells Fargo Bank, N.A., 2015 WL 2438274 (N.D. Cal. 2015) Judge Alsup
discussed the other fees issue ~ multipliers:

“Now, we turn to what type ofmultiplier, if any, to award “A ‘multiplier’ is a number,
such as 1.5 or 2, by which the base lodestar figure is multiplied in order to increase (or
decrease) the award of attomeys’ fees on the basis of such factors as the risk involved and the
length of the proceedings.” Stalon v. Boeing Co.,_327 F.3d 938, 968 (9th Cir.2003). “Multipliers
can range from 2 to 4 or even higher.” Wershba v. Apple Computer, lnc., 91 Cal.App. 4th 224,
255 (Cal.Ct.App.ZOOl). Other factors include the complexity of the case, risk of non-payment,
contingency nature of the case, results obtained, percentage of recovery obtained, quality of

representation skill and labor required, benefits to the class, novelty of the issues presented, and

Case No.: l$-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND
REIMBURSEMENT OF LITIGATION EXPENSES

22

 

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level of success In re Bluetooth, 654 F.3d at 942; Vz‘zcaino, 290 F.3d at 1051. lt would be
unusual not to apply a risk multiplier when (1) the attorneys reasonably take a case with the
expectation that they will receive a risk enhancement if they prevail, (2) their hourly rates do not
reflect that risk, and (3) there is evidence that the case was indeed risky. Fischel,_307 F.3d at
1008.”

There can be no doubt that the settlement reached in this case was of general public
benefit, and the District Court has so held The settlement provides significant rewards to the
class, such as daily monitoring of credit files, intemet surveillance identity monitoring, and
theft insurance These factors weigh heavily in the calculation of the appropriate fee award See,
Cervantez December 1, 2017 Declaration ‘|]8.

However, the Special Master sees no reason to apply a multiplier to increase the award
in this case, considering the number of billers and overstated rates discussed above Rather, if
anything, a negative multiplier is appropriate for those reasons Further, this Court has used the
percentage method as a “cross-check” to the lodestar approach. See, In re: High-Tech Employee
Antitrust Litigalion, 2015 WL 5158730 (N.D. Cal. 2015) and See, In re Bluetooth, 654 F.3d at
944.

lf` this method is employed, the Ninth Circuit has supported a “benchmark” of 25% for
counsel fees Simply multiplying 25% times the gross $115 Million settlement yields an award
of $28,750,000 versus counsel’s lodestar application for $37,950,000. However, as noted, there
are listed $23 million in notice and administration costs, plus about $2 million in claimed
expenses, which if deducted reduces the $l 15 million fund available to thc class to about $90

million ln round figures, this means counsel’s fees based on their analysis would equal 42% of

Case No.: 15-MD-026l7-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

23

 

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the real “net” recovery, far in excess of the “benchmark” of 25%. A 25% recovery applied to
$90 million equals $22.5 million, which indicates the claimed $37,950,000 fees based on a
lodestar analysis is excessive

III. Recommendations

On the positive side of counsels’ application, the Special Master recognizes this lawsuit
has brought significant benefit to the class now and in the future See, Cervantez Declaration of
December l, 2017 at 3-5. The substantial efforts of class counsel to achieve the settlement here
is acknowledged but that does not end the analysis.16

Once past the 25% “benchmark,” cases do not provide a single hard and fast rule or
equation

In Moreno v. City of Sacramenlo, 534 F.3d 1106 (911l Cir. 2008) the Court of Appeal
addressed and reversed the District Court’s 40% reduction in the claimed fees This was a civil
rights case seeking injunctive relief, where there was “monetary light at the end of the litigation
tunnel: .. .” Fn. 1 at 1111. The appellate court determined the lower court decision to reduce the
fees “insufficient” and its explanations” opaque,” using “imperrnissible” methodologies Id. at
1112-1116. In that case, the District Court cut counsel’s hours by 25 percent, which was on top
of counsel’s unilateral reduction of fees by 9 percent The Ninth Circuit offered the following

altemative: “The district court has a greater familiarity with the case than we do, but even the

 

16 It has been said that when lawyers request fees from a class settlement fund, they are not
like adversaries in litigation; they are like artists requesting a grant from the National
Endowment for the Arts. Grant-making organizations establish nonadversarial methods for
screening applications; ...In the Matter of Continental ]llinois Securities Liiigation, 962 F.2d
566, 573 (7‘1‘ Cir. 1992).

Case No.: 15-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMEN'I` OF LITIGATION EXPENSES

24

 

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district court cannot tell by a cursory examination which hours are unnecessarily duplicative
Nevertheless, the district court can impose a small reduction, no greater than 10 percent_a
“haircut”_based on its exercise of discretion and without a more specific explanation.” Id. at
11 12. '7

In In re High-Tech Employee Antitrust Litr`gation, 2015 WL 5158730 (N.D. Ca. 2015)
the Court declined to use the percentage method, and instead did a detailed analysis of the rates
and hours claimed by class counsel. That case had been pending for four years and had a prior
history of $5 million awarded to class counsel in a $20 million settlement with some of the
other parties in the case Significantly, the settlement with the remaining parties in the case was
for $415 million Plaintiffs’ counsel sought a multiplier in excess of prior Ninth Circuit cases In
the Court’s review of billing rates from six firms, it was found that the rates were “reasonable in
light of prevailing market rates in this district (Northern Califomia)” and the 36,215 hours was a
“reasonable amount of time for class counsel to have spent on this litigation.” Id. Ultimately, the
Court applied a multiplier (f`rom the lodestar supplied) to boost counsel’s fees to $40 million (in
addition to $5 million previously obtained). Significantly, the Court’s award was a reduction in
counsel’s request by more than one-half, from 381 million sought.111 And, considering the total
$435 million settlement fund, counsel was awarded only10.5% of the settlement fund

In that case this Court noted:

 

17 The 10% “haircut,” though not characterized as such, was applied by the Court in Vargas v.
Berkeley Unifz`ed School District 2017 WL5991857 (N.D. Cal.2017)

18 Other counsel had its fee request reduced by more than 80%.

Case No.: 15-MD-O26l7-LHK

REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS' FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

25

 

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Liability Litigation, 654 F.3d 935, 942 (911l Cir. 2011), there is authority to simply apply 25% to

 

 

“. .. the Ninth Circuit has made clear that in “megafund” cases, such as this one, courts
may “employ the lodestar method instead” if rotc application of the 25% benchmark “would
yield windfall profits for class counsel in light of the hours spent on the case.” In re
Bluetooth, 654 F.3d at 942.

The risks undertaken by class counsel and their sizable investment in an unknown result,
typical of class actions, were magnified in the instant megafund case And, as noted, the
settlement here was extremely positive, including the commitment by Anthem to undertake
extensive curative actions However, the number of counsel, the overlapping staffing and the
excessive rates charged for contract lawyers - in contravention of the Court’s admonitions -
weigh heavily in this report’s recommendations

Taking all these factors into account, and good cause appearing, the Special Master
makes the following alternative recommendations

(1) T he 25% “Benchmark”

As articulated in the Ninth Circuit’s ruling in In re Bluetooth Headset Products

the settlement figure as the amount to be awarded to counsel, If the total figure here is 3115
million, that amount of fees is $28,750,000. Class counsel would then need to deduct
approximately 82 million f`or expenses (paid or outstanding), leaving counsel with a net
recovery of $26,750,000. Using the “benchmark” approach, either the “gross” or “net” recovery

is well below the approximate amount sought by counsel of $39,950,000.19.

 

19 This figure includes approximately $2 million in costs.
Case No.: l$-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER REZ AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

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(2) T he revised, average billing rate

By taking the averages of all firms’ billings as shown above in Section II.B., an overall
average rate, meaning all personnel regardless of rank, equals $455. Applying that rate to the
billable hours, a total of 835,896,087 is achieved Again, that is before deduction of about $2
million for expenses leaving counsel with a net recovery of $33,896,087. This is also well
below the amount sought by counsel,

(3) Reducing the claimed lodestar by a “haircut " of 1 0% and a reduction for contract

attorneys

This approach, as noted above, is articulated in the Ninth Circuit’s Moreno opinion In
this case, a two-step process is required First, the overbilling for contract attorneys needs to be
deducted from the gross fees sought, as follows: Total claimed fees = $37,950,000, minus the
$3,963,671 in arguable overcharges (see Section II.B. above) yields $33,986,328 in fees Then,
a “haircut” of 10% further due to the factors described above, reduces the lodestar to
$30,587,696. That figure is 26.6% of the total $115 million gross settlement and 34% of the $90
million net settlement fund (if expenses and administrative costs are excluded). The Special
Master assumes litigation expenses (including experts) have been paid by this date, so they are
reimbursable to counsel but should be deducted in computing the lawyers’ fee recovery. To
summarize when the approximately $2.0 million in expenses are deducted from counsel’s
recovery, the net received by class counsel is $28,587,696 or 24.9% of the settlement’s 81 15
million gross figure This compares with Counsel’s request for 33% of the $115 million
settlement fund

The above three alternative analyses yield fees compensation to class counsel as follows:

Case No.: 15-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

R.EIMBURSEMENT OF LITIGATION EXPENSES

27

 

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“Benchmark 25%" = $26, 750,000

"$455/Hr. Billing rate " = $33, 896, 087

“1 0% Haircut of counsel 's lodestar " = $28,587, 696

This third, “haircut” analysis is the one the Special Master recommends This approach
equals $9,362,304 or 24.7% reduction off of counsel’s claimed lodestar. lt is considerate of
counsel’s efforts which is appropriate in light of the results achieved for the present and the
future It allows a significant monetary reward for the class It also recognizes the overcharging
outlined above If the lodestar is adjusted downwards from what class counsel is seeking, the
difference should revert to the class members

Therefore, the Special Master recommends

(1) In summary, $28,587,696 to class counsel, $2,005,069 for litigation expenses,
$23,000,000 for notice and administrative fees;

(2) The Speeial Master further recommends that the costs for a reserve of $132,000
($60,000 for expert monitoring services and $72,000 for a call-in center), and service awards of
$5,000 and $7,500 per awardee be borne by class counsel, and not the Class; and

(3) The Special Master’s charges should also be borne by counsel, and not the class

Dared; Aprilsz, 2018 Respectfuuy submitted

r. twa

Hon. J ames P. Kleinbergg et.)
Special Master

Case No.: lS-MD-02617-LHK
REPORT AND RECOMMENDATIONS OF SPECIAL MASTER RE: AWARD OF ATTORNEYS’ FEES AND

REIMBURSEMENT OF LITIGATION EXPENSES

28

 

